
46 So.3d 1079 (2010)
Ronald PALMER, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-3036.
District Court of Appeal of Florida, First District.
October 25, 2010.
Ronald Palmer, pro se, Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking a belated appeal of the judgment and sentence rendered on June 10, 2008, in Duval County Circuit Court case number 16-2007-CF-015032-AXXX-MA, is granted. Upon issuance of *1080 mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal in accordance with Florida Rule of Appellate Procedure 9.141(c)(5)(D). If petitioner qualifies for the appointment of counsel at public expense, the lower tribunal shall appoint counsel to represent him on appeal.
WEBSTER, LEWIS, and MARSTILLER, JJ., concur.
